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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi             she I



                                             UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                   V.                                                (WO)

                        JAMES E. POTTS                                              Case Number: 2:12cr107-MEF-01
                                                                           )        USM Number: 14050-002

                                                                           )         Stephen P. Ganter
                                                                                    Defendant's Anorney
THE DEFENDANT:
   pleadcd guilty to Count(s)           One of the Indictment on 3/27/2013
fi pleaded nolo contendere to count(s)
   which was accepted by the court.                                    -             -          --
El was found guilty on count(s)
   after a pica of not guilty.           -

The defendant is adjudicated guilt y of these offcnses

Title & Section                   Nature of Offense                                                                   Offense Ended                Count

 18666(a)(1)(B)                    Theft or Bribery Concerning Programs Receiving Federal                                 7130/2008
                                    Funds




fi See additional count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 5 of this judgineni. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
fi The defendant has been found not guilty on count(s)
   Count(s) 2 of the Indictment                              is   flare dismissed on the motion of the United States

          ri is ordered thai the defendant mist notify the United Slates attorney ibr this district within 30 days of any change of name, residence,
or mailing address until all fines. restitution, costs, and special assessiints imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           8/1/13
                                                                           Dale ochliposition of .1 cii glue ci




                                                                                                                  C
                                                                           Signature of Judge
                                                                                                                      J
                                                                           Mark E. Fuller, United States District Judge
                                                                           Name o Jud ge                                         TitLe oL' Judge




                                                                           Date
                          Case 2:12-cr-00107-MEF-CSC Document 82 Filed 08/06/13 Page 2 of 5

AO 245L3             (Rev 0911 t) Judgment in a Criminal Case
vi                   Sheet 4—Probation

                                                                                                                             Judgment Page: 2 o15
     DEFENDANT: JAMES E. POTTS
     CASE NUMBER: 2:12cr107-MEF-01
                                                                       PROBATION
 The defendant is hereby sentenced to probation for a term of:

         Five (5) Years.




     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defedant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
     thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
               future substance abuse. Check, ifappficable)
     LI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if applicable.)
     L    ' The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. /applicable.)
     LI The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, elseq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
     El The defendant shall participate in an approved program for domestic violence. Check, if appiicable)
            If this judgment imposes a fine or restitution, it is a conditbn of probation that thedefendant pay in accordance with the Schedule of
     Payments sheet of this judgment.
               The defendant rri.ist comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
     on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
           ) the defendant shall not leave the judicial district without the permission of the court or probation officer;
          2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)    the defendant shall support his or her dependents and meet other family responsibilities;
          5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
          6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
                substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          X) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                felony, unless granted permission to do so by the probation officer;
         10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
         11)    the defendant shall notify the probation officer within seventy-two hours of bcing arrested or questioned by a law enforcement officer;
         12)    the defendant shall not enter Into any agreement to act as an informer or a special agent of law enforcemnt agency without the
                permission of the court; and
         13)    as directed by the probation officer, the defendant shall noti' third parties ofrisks that may be occasioned by the defendant's criminal
                record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.all retrain from
                Case 2:12-cr-00107-MEF-CSC Document 82 Filed 08/06/13 Page 3 of 5

AO 24513    (Rev. 09/11) Judgment in a Criminal Case
vi          Sheet 4C - Probation

                                                                                                       Judgment Page: 3 of 5
 DEFENDANT: JAMES E. POTTS
 CASE NUMBER: 2:12cr107-MEF-01

                                         SPECIAL CONDITIONS OF SUPERVISION
  1) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
  court.

  2) The defendant shall provide the probation officer with any requested information.

  3) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
  in compliance with the payment schedule.

  4) The defendant shall complete 500 hours community service at a local agency to provide computer literacy classes at a
  time and location approved by the United States Probation Office.
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AO 245B          (Rev. 09/11) Judgment in a Criminal Case
V1               Sheet S - Criminal Monetary Penalties

                                                                                                                          Judgment Page: 4 of 5
     DEFENDANT: JAMES E. POTTS
     CASENUMBER: 2:12cr107-MEF-01
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                          Fine                              Restitution
 TOTALS                $ 100.00                                               0.00                            S 0.00



     El The determination of restitution is deferred until                       An Amended Judgmeni in a Criminal Case (AG 245C) will be entered
         after such determination.

     El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, eaeh pa y ee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment eolumnlelow. However, pursuant to 18 U.S.C. 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                            Total Loss*              Restitution Ordered Priority or Percentage




 TOTALS                                                                                   $0.00                   $0.00


 El Restitution amount ordered pursuant to plea agreement $

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S+C. § 3612(g).

 El The eourt determined that the defendant does not have the ability to pay interest and it is ordered that:
         El the interest requirement is waived for the             El fine El restitution.
         El the interest requirement for the             El fine     El restitution is modified as follows:


* Findingsforthe total anount of losses are required under Chailers 109A, 110, I10A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B           (Rev, 09/11) Judgrneni in a Criminal Case
V1            Sheet 6— Schedule of Payments

                                                                                                                          Judgment Page: 5 of S
 DEFENDANT: JAMES E. POTTS
 CASE NUMBER: 2:12cr107-MEF-01

                                                              SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     l( Lump sum payment of$ 100.00                             due immediately, balance due

              l       not later than                                 , or
            [f in accordance                   LI C, LI D, fl          E, or [F below; or

 B LI Payment to begin immediately (maybe combined with                     LI C,        LI D, or LI F below); or

 C     LI Payment in equal                       (e g., weekly, monthly, quarterly) installments of $                             over a period of
                       (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after the date of this judgment; or

 D     LI Payment in equal                    - (e.g., weekly, morrthly, quarterly) installments of $                          over a period of
                 -      (e.g., months or years), to commence                --    (e.g., 30 or 60 da ys) after release from imprisonment to a
          term of supervision; or

 E     LI Payment during the term of supervised release will commence within                  (eg., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjud oment imposes imprisonment, payment of crininal monetary penalties is due during
 Imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court,

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
